993 F.2d 1536
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Donald Albert GIVENS, Petitioner,v.WESTMORELAND COAL COMPANY, INCORPORATED;  Director, Officeof Workers' Compensation Programs, United StatesDepartment of Labor, Respondents.
    No. 92-2200.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 2, 1993Decided:  May 26, 1993
    
      On Petition for Review of an Order of the Benefits Review Board.  (88-2932-BLA)
      Donald Albert Givens, Petitioner Pro Se.
      Ann Brannon Rembrandt, Jackson &amp; Kelly, Charleston, West Virginia; Marta Kusic, Anne Swiatek, United States Department of Labor, Washington, D.C., for Respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before HAMILTON and WILLIAMS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Donald Albert Givens seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. # 8E8E # 901-945 (West 1986 &amp; Supp. 1992).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Givens v. Westmoreland Coal Co., No. 88-2932-BLA (B.R.B. Sept. 9, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    